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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                 WASHINGTON, D.C.

UNITED STATES OF AMERICA                     )
                                             )       1:22-mj-00030-ZMF
       v.                                    )
                                             )       Judge Zia M. Faruqui
GEOFFREY SAMUEL SHOUGH                       )


                   SUPPLEMENTAL DECLARATION IN SUPPORT OF
                      MOTION FOR ADMISSION PRO HAC VICE

       MURDOCH WALKER II, ESQ. (“Applicant”), who seeks permission to represent

GEOFFREY SAMUEL SHOUGH (“Client”) in the above-captioned case pro hac vice by motion

filed March 7, 2022 [ECF No. 8], and pursuant to the Court's Order entered March 10, 2022 and

LCrR 44.1(d), hereby supplements his previous declaration as follows:

       1.      Applicant's full name is MURDOCH WALKER, II.

       2.      Applicant practices at the firm of Lowther Walker, LLC, which office address is:

                      Lowther | Walker LLC
                      101 Marietta St. NW, Ste.3325
                      Atlanta, Georgia 30305
                      Office Phone: 404.496.4052
                      Cell Phone: 843.540.7903
                      mwalker@lowtherwalker.com

       3.      Applicant certifies that he is admitted to practice before and remains in good

standing with the Courts in the following jurisdictions:

   Supreme Court of Georgia                                         09/01/2016             Active

   Superior Courts of Georgia (Bar #163417)                         10/30/2014             Active

   US Court of Appeals for the Fourth Circuit                       07/26/2016             Active

   US Court of Appeals for the Sixth Circuit                        10/13/2017             Active


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   US Court of Appeals for the Seventh Circuit                      03/17/2017             Active

   US Court of Appeals for the Eleventh Circuit                     06/24/2015             Active

   US District Court for the Middle District of Georgia             09/01/2017             Active

   US District Court for the Northern District of Georgia           10/28/2015             Active

   US District Court for the Southern District of Georgia           11/17/2014             Active

   US District Court for the Northern District of Illinois          09/21/2016             Active

   US District Court for the Northern District of Indiana           03/08/2017             Active

   US District Court for the District of North Dakota               12/18/2014             Active

   US District Court for the Western District of Tennessee          09/13/2016             Active

   US District Court for the Eastern District of Texas              08/11/2018             Active

       4.      Applicant certifies that he has never been the subject of any formal suspension or

disbarment proceedings; never been denied admission pro hac vice in this or any other

jurisdiction or had pro hac vice admission revoked; never had any certificate or privilege to

appear and practice before any judicial or administrative body suspended or revoked; and has

never received public discipline by any court or lawyer regulatory organization.

       5.      Applicant certifies that he has been admitted pro hac vice zero times in this Court

within the previous two years.

       6.      Applicant does not engage in the practice of law from an office located in the

District of Columbia, and is not a member of the District of Columbia Bar, nor does he have an

application for membership pending.




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By signature, Applicant so declares and certifies.

Date: March 11, 2022

                                              Respectfully submitted,


                                              Murdoch Walker II, Esq.
                                              Ga. Bar 616038 (pro hac vice pending)
                                              mwalker@lowtherwalker.com

                                              Lowther | Walker LLC
                                              101 Marietta St. NW, Ste. 3325
                                              Atlanta, Georgia 30305
                                              O 404.496.4052
                                              www.lowtherwalker.com

                                              Attorney for Geoffrey Samuel Shough




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
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UNITED STATES OF AMERICA                     )
                                             )       1:22-mj-00030-ZMF
       v.                                    )
                                             )       Judge Zia M. Faruqui
GEOFFREY SAMUEL SHOUGH                       )


                                CERTIFICATE OF SERVICE

       I certify that on March 11, 2022, I electronically filed the foregoing SUPPLEMENTAL

DECLARATION IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE with the

Clerk of the United States District Court for the District of Columbia by way of the CM/ECF

system, which automatically will serve this document on the attorneys of record for the parties in

this case by way of electronic mail.

       Date:          March 11, 2022


                                             s/Keith Lively, Esq.
                                             Keith Lively, Esq.
                                             DC Bar No. 499948
                                             klively@dbmlawgroup.com

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                                             Local Counsel for Geoffrey Samuel Shough




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